          Case 21-32351 Document 1312 Filed in TXSB on 04/27/22 Page 1 of 2




                            IN THE UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

In re:                                                                CHAPTER 11

LIMETREE BAY SERVICES, LLC, et al., 1                                 CASE NO.: 21-32351 (DRJ)

                             Debtors.                                 (Jointly Administered)


                  REQUEST FOR PAYMENT OF ADMINISTRATIVE EXPENSE

          Ironshore Specialty Insurance Company (“Applicant”) hereby applies for entry of an order

allowing as an administrative expense, insurance premiums in the amount of $390,780.00, incurred

by the estate in connection with Applicant’s policy number 002626704 (the “Policy”). The

Policy’s extension endorsement premium came due and owing on August 8, 2021, after the

captioned bankruptcy case was filed, and covered the estate, per the terms of the Policy, from June

1, 2021 through December 1, 2021. The premium was not paid.

          Section 503(b)(1)(A) of the Bankruptcy Code governs allowance of administrative

expenses, and provides, “After notice and a hearing, there shall be allowed administrative

expenses, …. , including — (1)(A) the actual, necessary costs and expenses of preserving the

estate….” An expense qualifies for allowance under section 503(b)(1)(A) if the Applicant's efforts

resulted in a post-petition actual and demonstrable benefit to the estate. In re Phones for All, Inc.,

288 F.3d 730, 732 (5th Cir. 2002); accord, In re American Plumbing & Mechanical, Inc., 323 B.R.

442, 459 (Bankr. W.D.Tex. 2005). The benefit is measured from the point of view of the estate,



         1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification

number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay
Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067);
Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore
Park Drive, Houston, TX 77041.



                                                              1
DM3\8670331.1 R3378/00002
          Case 21-32351 Document 1312 Filed in TXSB on 04/27/22 Page 2 of 2




as opposed to the Applicant. Matter of Strause, 40 B.R. 110, 113 (Bankr. W.D.Wis. 1984) ("... the

principal purpose of according administrative priority to claims for benefit to the estate is to

prevent unjust enrichment of the debtor's estate, rather than simply to compensate the creditor").

          Payment of the premium for the Policy constitutes an actual, necessary expense of

preserving the estate. Accordingly, Applicant respectfully submits that good cause exists for the

estate to pay the premium, and requests that the Court enter an order requiring payment of the

premium in the amount of $390,780.00.

          Prior to filing this Request for Payment of Administrative Expense, counsel to Applicant

engaged in communications with Debtor’s court-appointed counsel in order to resolve this claim

and Applicant has provided Debtor’s counsel with copies of an accounting, applicable policies and

extensions, and other information as requested. These documents have not been appended to this

request, but will be filed promptly together with any necessary declarations if allowance and

payment of this administrative claim is subject to dispute.


Dated: April 27, 2022                          DUANE MORRIS LLP

                                               By: w/ Aron M. Oliner
                                                  Ron Oliner (Admitted Pro Hac Vice)
                                                  Spear Tower
                                                  One Market Plaza, Suite 2200
                                                  San Francisco, CA 94105-1127
                                                  Telephone: +1 415 957 3000
                                                  Facsimile +1 415 957 3001
                                                  E-mail:    roliner@duanemorris.com

                                                     Cameron J. Asby (24078160)
                                                     Federal I.D. 2742509
                                                     1330 Post Oak Boulevard, Suite 800
                                                     Houston, TX 77056-3166
                                                     Telephone: +1 713 402 3900
                                                     Facsimile: +1 713 402 3901
                                                     E-mail:     cjasby@duanemorris.com

                                                     Attorneys for Interested Party
                                                     Ironshore Indemnity, Inc.



DM3\8670331.1 R3378/00002                        2
